     Case 4:17-cv-00368-A Document 1 Filed 05/02/17                   Page 1 of 10 PageID 1


                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

ATLANTIC CASUALTY INSURANCE                       §
COMPANY,                                          §
                                                  §
         Plaintiff,                               §
                                                  §
v.                                                §    CIVIL ACTION NO. 4:17-cv-00368
                                                  §
N & A PROPERTIES, INC., MUSTAFA                   §
NADAF, and FILOMENO GRANDE                        §
MATA,                                             §
                                                  §
         Defendants.                              §

               PLAINTIFF ATLANTIC CASUALTY INSURANCE COMPANY’S
              ORIGINAL COMPLAINT SEEKING DECLARATORY JUDGMENT

         Plaintiff, Atlantic Casualty Insurance Company (Atlantic Casualty), files its Original

Complaint seeking a declaratory judgment and respectfully shows the Court as follows:

                                                I.
                                             PARTIES

         1.     Atlantic Casualty is a citizen of North Carolina, as it is a North Carolina corporation

and has its principal place of business in North Carolina. Atlantic Casualty is not a citizen of

Texas.

         2.     Defendant, N & A Properties, Inc. (N & A), is a Texas corporation, with its

principal place of business in Fort Worth, Texas. Process may be served through its registered

agent, Mustafa Nadaf, at 2424 Azle Avenue, Fort Worth, Texas 76106, at N & A’s place of

business, 10501 Jacksboro Highway, Fort Worth, Texas 76135, or wherever the registered agent

may be found. N & A is a citizen of Texas and not a citizen of North Carolina.

         3.     Defendant, Mustafa Nadaf (Nadaf), is an individual citizen of Texas, who may be

served at his place(s) of residence, 2600 Perkins Road, Arlington, Texas 76016, 2424 Azle


PLAINTIFF ATLANTIC CASUALTY INSURANCE COMPANY’S                                                PAGE 1
ORIGINAL COMPLAINT SEEKING DECLARATORY JUDGMENT
     Case 4:17-cv-00368-A Document 1 Filed 05/02/17                  Page 2 of 10 PageID 2


Avenue, Fort Worth, Texas 76106, or wherever he may be found. Nadaf is a citizen of Texas and

not a citizen of North Carolina.

        4.      Defendant, Filomeno Grande Mata (Mata), is an individual citizen of Texas, who

may be served at his place of residence, 516 Flowering Plum Lane, Fort Worth, Texas 76140, or

wherever he may be found. Mata is a citizen of Texas and not a citizen of North Carolina.

        5.      N & A, Nadaf, and Mata collectively are referred to herein as the Defendants.

                                               II.
                                          JURISDICTION

        6.      The Court has jurisdiction over this lawsuit under 28 U.S.C §1332(a)(1) because

the Plaintiff is a citizen of a different state than each Defendant and the amount in controversy

exceeds $75,000.00, exclusive of interest and costs.

        7.      The Court has personal jurisdiction over the Defendants because they are all

citizens of Texas and all reside within the judicial district.

                                                 III.
                                                VENUE

        8.      The district court exercises subject matter jurisdiction in this action pursuant to 28

U.S.C. § 1332(a)(1) and not pursuant to 28 U.S.C. § 1333. Venue thus is governed by 28 U.S.C.

§ 1391. 28 U.S.C. § 1390. Under section 1391, a civil action may be brought in a judicial district

in which any defendant resides, if all defendants are residents of the State in which the district is

located. Id. § 1391(b)(1). As pleaded above, the Defendants are residents of the State of Texas.

For venue purposes, N & A, Nadaf, and Mata are residents of Tarrant County, Texas. Tarrant

County is within the Fort Worth Division of the Northern District of Texas. 28 U.S.C. § 124(a)(2).

Because all Defendants reside in Tarrant County, which is within the Northern District of Texas

and all Defendants are residents of the State of Texas, venue is proper in this district and division.



PLAINTIFF ATLANTIC CASUALTY INSURANCE COMPANY’S                                               PAGE 2
ORIGINAL COMPLAINT SEEKING DECLARATORY JUDGMENT
     Case 4:17-cv-00368-A Document 1 Filed 05/02/17               Page 3 of 10 PageID 3


                                             IV.
                                            FACTS

       9.      Paragraphs 1-8 set forth above are incorporated herein by reference.

       10.     Atlantic Casualty brings this claim for a declaratory judgment under both Rule 57

of the Federal Rules of Civil Procedure and 28 U.S.C. §§ 2201 and 2202.

       11.     N & A is a Texas corporation formed on or about January 8, 2014. According to

Texas Secretary of State records and associated tax filings, Nadaf is the registered agent,

“Director,” and “President” of N & A. There are no other officers or directors of record.

       12.     On October 26, 2016, Nadaf filled out an application for insurance. The application

identified Nadaf as “applicant.” When asked for a “complete description of the work performed

by applicant,” Nadaf responded “Commercial Property Held For Lease.” The 10501 Jacksboro

Highway location owned by N & A was thus classed on the application as “Buildings or premises

bank, office, mercantile, mfg. (Lessors Risk only) Other than Not-For-Profit.” (emphasis added).

       13.     Nadaf was also asked if “applicant [has] any other business ventures for which

coverage is not requested,” to which he responded “No.” Nadaf stated that N & A had one

employee with an “employee annual payroll of 10000 [sic]” not including the “owner.” Nadaf

further affirmed that N & A did not subcontract any work, and did not have any subsidiaries.

Despite being formed in 2014, Nadaf identified N & A as a “new venture.”

       14.     Based upon those representations and others made by Nadaf, Atlantic Casualty

issued commercial property and commercial general liability insurance policy number

M188000452 to N & A, with a policy period of October 31, 2016, to October 31, 2017 (the Policy).

       15.     In the application, Nadaf represented that N & A was the only entity, that it had a

single employee, and it was solely the lessor on the property. Unbeknownst to Atlantic Casualty,

Nadaf in fact leased the location he insured as “lessors risk only” to his own (undisclosed and


PLAINTIFF ATLANTIC CASUALTY INSURANCE COMPANY’S                                             PAGE 3
ORIGINAL COMPLAINT SEEKING DECLARATORY JUDGMENT
     Case 4:17-cv-00368-A Document 1 Filed 05/02/17                 Page 4 of 10 PageID 4


uninsured) scrap metal yard and/or recycling business with multiple undisclosed employees or

contractors – 199 Recycling, Inc. (199 Recycling). 199 Recycling was formed by Nadaf on or

about December 30, 2013. As is the case with N & A, Nadaf is the registered agent and sole officer

of 199 Recycling.

       16.     This declaratory judgment action stems from a claim submitted by N & A under

the Atlantic Casualty Policy for liability insurance coverage for bodily injury to Mata.

       17.     On or about December 1, 2016, Mata was working for Nadaf as a contract laborer

for the recycling operation. At the end of the work day, Mata went to close the gate of the premises

located at 10501 Jacksboro Highway, when it fell on top of him, allegedly causing severe bodily

injury. 911 calls indicated to the dispatcher that a “gate fell on an employee.”

       18.     Based on the information that Nadaf submitted for N & A in the application,

Atlantic Casualty’s underwriters approved the issuance of a policy. After the submission of the

claim for Mata’s bodily injury, Atlantic Casualty has learned that these material statements in the

application were false.

                                         V.
                                DECLARATORY JUDGMENT

       19.     Paragraphs 1-18 set forth above are incorporated herein by reference.

       20.     Nadaf has submitted a claim under the Atlantic Casualty Policy on N & A’s behalf

for defense and indemnity with regard to Mata’s injuries.

       21.     Atlantic Casualty seeks a declaration from this Court that it has no duty to provide

coverage for any claim by N & A, Nadaf, or Mata for Mata’s bodily injuries under the terms of

the Policy. Atlantic Casualty seeks a declaration that the Policy was properly voided and rescinded

for material misrepresentations in the application for insurance, a declaration that the voidance and




PLAINTIFF ATLANTIC CASUALTY INSURANCE COMPANY’S                                              PAGE 4
ORIGINAL COMPLAINT SEEKING DECLARATORY JUDGMENT
     Case 4:17-cv-00368-A Document 1 Filed 05/02/17                 Page 5 of 10 PageID 5


rescission is binding on Nadaf and Mata, or alternatively, a declaration that the claim is otherwise

not covered under the Policy terms, conditions or exclusions.

                                                A.
                              FORM PROVISIONS AND DEFINITIONS

       22.     The Atlantic Casualty Policy provides coverage for certain “bodily injury” caused

by an “occurrence” within the Policy period. The Policy’s insuring agreement states as follows:

       INSURING AGREEMENT AMENDMENT                          –   USE    OF     EXTRINSIC
       EVIDENCE – RIGHT TO DEFEND

       A.      Paragraph 1. a. of SECTION I – COVERAGES, COVERAGE A BODILY
               INJURY AND PROPERTY DAMAGE LIABILITY is replaced by the
               following:

               a.      We will pay those sums that the insured becomes legally obligated
                       to pay as damages because of “bodily injury” or “property
                       damage” to which this insurance applies. We will have the right
                       and the duty to defend the insured against any “suit” seeking
                       covered damages. We will have the right, but not the duty to defend
                       the insured against any “suit” for which we dispute coverage. We
                       will have no duty to defend or indemnify the insured against any
                       “suit” seeking damages for “bodily injury” or “property damage”
                       to which this insurance does not apply.

                      We may look to extrinsic evidence outside of the allegations and/or
                      facts pleaded by any claimant to determine whether we owe a duty
                      to defend or indemnify against a lawsuit seeking “bodily injury” or
                      “property damage,” provided that extrinsic evidence does not
                      contradict a claimant’s pleaded allegation and provided that
                      evidence relates to a discrete coverage issue under the policy and
                      not a merits or liability issue. We may, at our discretion, investigate
                      any “occurrence” and settle any claim or “suit” that may result.
                      But:
                      (1)     The amount we will pay for damages is limited as described
                              in Section III – LIMITS OF INSURANCE; and
                      (2)     Our right and duty to defend a claim to which this insurance
                              applies ends when we have used up the applicable limit of
                              insurance in the payment of judgments or settlements under
                              COVERAGES A or B or medical expenses under
                              COVERAGE C.
                      ***
               b. This insurance applies to "bodily injury" and "property damage" only if:

PLAINTIFF ATLANTIC CASUALTY INSURANCE COMPANY’S                                             PAGE 5
ORIGINAL COMPLAINT SEEKING DECLARATORY JUDGMENT
     Case 4:17-cv-00368-A Document 1 Filed 05/02/17               Page 6 of 10 PageID 6


                  (1) The "bodily injury" or "property damage" is caused by an
                      "occurrence" that takes place in the "coverage territory";
                  (2) The "bodily injury" or "property damage" occurs during
                      the policy period; and
                  ***

             No other obligation or liability to pay sums or perform acts or services is
             covered unless explicitly provided for under SUPPLEMENTARY
             PAYMENTS – COVERAGES A AND B.

         AGL-077 03 13



       23.    The Policy states that where there is no coverage under the Policy, there is no duty

to defend. A determination regarding Atlantic Casualty’s defense obligation may be made on

information, evidence, or documents extrinsic to any complaint:

                                LIMITATION – DUTY TO DEFEND

              Where there is no coverage under this policy, there is no duty to defend any
              insured.

              Our determination regarding a defense obligation under this policy may be
              made on documentation, evidence or information extrinsic to any complaint
              or pleading presented to us, provided such documentation, evidence or
              information does not contradict a pleaded allegation and provided such
              documentation, evidence or information relates solely to a discrete
              coverage issue under this policy.

              For those qualifying as an additional insured by way of an additional
              insured endorsement, we have the right, but not the duty, to defend.

              AGL-056 03 13

                                           B.
                         POLICY CONDITIONS & MISREPRESENTATIONS

       24.    The Policy’s Commercial General Liability Conditions Form states as follows

regarding representations made by N & A through its principal, Nadaf:


              SECTION IV - COMMERCIAL GENERAL LIABILITY
              CONDITIONS
              ***
              6. Representations
              By accepting this policy, you agree:


PLAINTIFF ATLANTIC CASUALTY INSURANCE COMPANY’S                                           PAGE 6
ORIGINAL COMPLAINT SEEKING DECLARATORY JUDGMENT
     Case 4:17-cv-00368-A Document 1 Filed 05/02/17                Page 7 of 10 PageID 7


               a.     The statements in the Declarations are accurate and
                      complete;
               b.     Those statements are based upon representations you made
                      to us; and
               c.     We have issued this policy in reliance upon your
                      representations.

       25.     The Declarations of the Atlantic Casualty Policy classify 10501 Jacksboro

Highway (Location #1) as lessors risk only. This classification was based upon Nadaf’s material

misrepresentations described herein.

       26.     The representations made by Nadaf in the application were false, material, and

made with intent to deceive. Atlantic Casualty relied on those representations to issue the Policy

to N & A. Had the true nature of the business operations at 10501 Jacksboro Highway been known

to Atlantic Casualty, it would not have underwritten the Policy.

                                          C.
                           POLICY ENDORSEMENTS AND EXCLUSIONS

       27.     Alternatively, the Policy contains various conditions or exclusions that apply to

Mata’s claim for bodily injury.

                                      1.
       INJURY TO EMPLOYEES OR CONTRACTORS, AND EMPLOYEES OF CONTRACTORS

       28.     The Policy issued to N & A states as follows:

               EXCLUSION OF INJURY TO EMPLOYEES, CONTRACTORS
                      AND EMPLOYEES OF CONTRACTORS

               Exclusion e. Employer’s Liability of SECTION I – COVERAGE A.
               BODILY INJURY AND PROPERTY DAMAGE LIABILITY is
               replaced by the following:

               This insurance does not apply to:
               (i)    "bodily injury" to any "employee" of any insured arising out of
                      or in the course of
                      (a)    Employment by any insured; or
                      (b)    Performing duties related to the conduct of any insured’s
                             business;
               (ii)   "bodily injury" to any "contractor" for which any insured may
                      become liable in any capacity; or

PLAINTIFF ATLANTIC CASUALTY INSURANCE COMPANY’S                                           PAGE 7
ORIGINAL COMPLAINT SEEKING DECLARATORY JUDGMENT
     Case 4:17-cv-00368-A Document 1 Filed 05/02/17                 Page 8 of 10 PageID 8


               (iii)   "bodily injury" sustained by any spouse, child, parent, brother or
                       sister of any "employee" of any insured, or of a "contractor", as
                       a consequence of any injury to any person as set forth in
                       paragraphs (i) and (ii) of this endorsement.

               This exclusion applies to all claims and "suits" by any person or
               organization for damages because of "bodily injury" to which this
               exclusion applies including damages for care and loss of services.

               This exclusion applies to any obligation of any insured to indemnify or
               contribute with another because of damages arising out of "bodily
               injury" to which this exclusion applies, including any obligation
               assumed by an insured under any contract.

               With respect to this endorsement only, the definition of "Employee" in
               the SECTION V - DEFINITIONS is replaced by the following:

               "Employee" shall include, but is not limited to, any person or persons hired,
               loaned, leased, contracted, or volunteering for the purpose of providing
               services to or on behalf of any insured, whether or not paid for such services
               and whether or not an independent contractor.

               As used in this endorsement, "contractor" shall include but is not limited to
               any independent contractor or subcontractor of any insured, any general
               contractor, any developer, any independent contractor or subcontractor of
               any general contractor, any independent contractor or subcontractor of
               any developer, any independent contractor or subcontractor of any
               property owner, and any and all persons working for and or providing
               services and or materials of any kind for these persons or entities
               mentioned herein.

               ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN
               UNCHANGED

               AGL-055A 03-13

       29.     The Policy does not cover “bodily injury” to any “employee” of any insured arising

in the course of their employment or while performing duties related to the conduct of any

insured’s business. “Employee” is broadly defined to include any person “providing services to

or on behalf of any insured.” As an “employee” of Nadaf (an insured under the policy), the “bodily

injury” to Mata is not covered by the Atlantic Casualty Policy.

       30.     The Policy also does not cover “bodily injury” to any “contractor” “for which any

insured may become liable in any capacity.” “Contractor” includes “any and all persons working


PLAINTIFF ATLANTIC CASUALTY INSURANCE COMPANY’S                                             PAGE 8
ORIGINAL COMPLAINT SEEKING DECLARATORY JUDGMENT
     Case 4:17-cv-00368-A Document 1 Filed 05/02/17               Page 9 of 10 PageID 9


for and or providing services” for “any independent contractor or subcontractor of any insured,”

or “any independent contractor or subcontractor of any property owner.” To the extent Mata is a

“contractor” rather than an “employee,” his claim is not covered by the Policy.

       31.     At the time of his injury, Mata was working on the premises. During the course of

Atlantic Casualty’s investigation of the claim, Nadaf stated that Mata was a day laborer on the

premises paid in cash. Thus, the exclusion applies to preclude coverage for Mata’s injury.

                                             2.
                                      OTHER PROVISIONS

       32.     To the extent applicable, the following provisions also preclude coverage for

Mata’s “bodily injury:”

       2.      Exclusions
               We will not pay expenses for “bodily injury:”

               a.     Any Insured
                      To any insured.
                      [As amended by AGL 112 03 13]

               b.     Hired Person
                      To a person hired to do work for or on behalf of any insured or a
                      tenant of any insured.

               c.     Injury on Normally Occupied Premises
                      To a person injured on that part of premises you own or rent that
                      the person normally occupies.

               d.     Workers Compensation And Similar Laws
                      To a person, whether or not an “employee” of any insured, if
                      benefits for the “bodily injury” are payable or must be provided
                      under a workers’ compensation or disability benefits law or a
                      similar law.
               ***
               g.     Coverage A Exclusions
                      Excluded under Coverage A.




PLAINTIFF ATLANTIC CASUALTY INSURANCE COMPANY’S                                           PAGE 9
ORIGINAL COMPLAINT SEEKING DECLARATORY JUDGMENT
       Case 4:17-cv-00368-A Document 1 Filed 05/02/17           Page 10 of 10 PageID 10


                                             VI.
                                           PRAYER

         33.   For these reasons, Plaintiff Atlantic Casualty Insurance Company asks for

judgment against Defendants, N & A Properties, Inc., Mustafa Nadaf, and Filomeno Grande Mata

for:

               a.    a declaration that Atlantic Casualty properly rescinded the Policy for
                     material misrepresentations in the application for insurance;

               b.    that the voidance and rescission of the Policy is binding and enforceable on
                     the Defendants;

               c.    Alternatively, that there is no coverage for N & A, Nadaf, or Mata under
                     the Atlantic Casualty Policy for the bodily injury claim by Mata;

               d.    costs of court; and

               e.    all other relief the Court deems proper.


                                            Respectfully submitted,

                                            SAVRICK, SCHUMANN, JOHNSON,
                                            MCGARR, KAMINSKI & SHIRLEY, L.L.P.


                                            By:
                                                  Camille Johnson, attorney-in-charge
                                                  State Bar No. 10686600
                                                  Gary N. Schumann
                                                  State Bar No. 17851930
                                                  Allison Griswold
                                                  State Bar No. 24074320
                                                  6440 N. Central Expressway, Suite 107
                                                  Dallas, Texas 75206
                                                  Phone: (214) 368-1515
                                                  Fax: (214) 292-9647
                                                  Emails: gary@ssjmlaw.com
                                                          camille@ssjmlaw.com
                                                          allison@ssjmlaw.com

                                            ATTORNEYS FOR PLAINTIFF,
                                            ATLANTIC CASUALTY INSURANCE COMPANY


PLAINTIFF ATLANTIC CASUALTY INSURANCE COMPANY’S                                           PAGE 10
ORIGINAL COMPLAINT SEEKING DECLARATORY JUDGMENT
